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                        Exhibit no. 2
Article 7 of the Lebanese Code of Civil Procedure
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Article 7 of the Lebanese Code of Civil Procedure

The legal action is the right to which is entitled each party having a claim, to submit such claim
to the courts for the purpose of obtaining a judgement in relation thereto.

The legal action is vis-à-vis the adverse party his right to submit his defense or objections for the
purpose of refuting such claim.

Each person or corporate body, whether Lebanese or foreign, is entitled to file claims and
defenses before the courts.
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